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                                                                                      March 16, 2018

         QS Holdco Inc. v. Bank of Am. Corp., et al., No. 1:18-cv-00824-RJS (S.D.N.Y.)

Dear Judge Sullivan:

        We write on behalf of all parties in the above-referenced action respectfully to request
that the Court enter the attached stipulation reflecting the parties’ agreement regarding service,
voluntary dismissal of certain defendants, and a schedule for the efficient management of this
matter.

        Plaintiff QS Holdco Inc. (“Plaintiff”) has asserted antitrust and state law claims regarding
an electronic stock loan trading platform, AQS. The allegations parallel those raised in a
putative class action currently pending before Judge Failla. See Iowa Public Employees’
Retirement System, et al. v. Bank of America Corp., et al., No. 17-cv-6221 (S.D.N.Y.).1

        However, Defendants have raised the threshold issue of whether Plaintiff has standing or
capacity to sue. On July 27, 2015, Quadriserv (AQS’s former owner and operator) transferred
the AQS trading platform to PDQ Inc. (Plaintiff’s predecessor). (See Compl. ¶¶ 18, 37-38.) On
July 31, 2016, PDQ Inc. transferred the AQS trading platform to Defendant EquiLend. (See id.
¶¶ 21, 39.) Pursuant to the 2016 Purchase Agreement, Defendants maintain that the right to
bring the asserted claims was transferred to Defendant EquiLend. Plaintiff alleges, nonetheless,
that “[u]pon the sale of AQS to EquiLend, QS Holdco and Quadriserv became the only entities
remaining to prosecute antitrust claims” set forth in the Complaint, and that on January 25, 2018,
Quadriserv “assigned its antitrust and other claims against Defendants to [Plaintiff] QS
Holdco”. (See id. ¶¶ 40-41.)

       The parties agree that the most reasonable and efficient initial path forward in this case is
to permit the parties to brief and obtain a decision from this Court on the threshold issue of

1
 Plaintiff filed this case as related to the putative class action, but it was declined by Judge Failla
and thereafter assigned to Your Honor.
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       Case 1:18-cv-00824-RJS Document 15 Filed 03/16/18 Page 3 of 12                      3



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Prime Securities Services (USA) LLC
       Case 1:18-cv-00824-RJS Document 15 Filed 03/16/18 Page 4 of 12                          4



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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


  QS HOLDCO INC.,
                                                            No. 18 Civ. 00824 (RJS)
                Plaintiff,

                                - against -

  BANK OF AMERICA CORPORATION, et al.,

                Defendants.




STIPULATION AND [PROPOSED] ORDER REGARDING SERVICE, SETTING TIME
  FOR DEFENDANTS TO ANSWER, MOVE OR OTHERWISE RESPOND TO THE
   COMPLAINT, AND VOLUNTARY DISMISSAL OF CERTAIN DEFENDANTS


       WHEREAS, on January 30, 2018, QS Holdco Inc. (“Plaintiff”) filed a complaint (the

“Complaint”) in the above-captioned action against the defendants (“Defendants”);

       WHEREAS, there has been no prior request to extend any deadlines in the above-

captioned action;

       WHEREAS, undersigned counsel for Defendants Bank of America Corporation; Merrill

Lynch, Pierce, Fenner & Smith Incorporated; Merrill Lynch L.P. Holdings, Inc.; and Merrill

Lynch Professional Clearing Corp. have represented that Defendant Bank of America

Corporation does not engage in the business of securities lending;

       WHEREAS, undersigned counsel for Defendants Credit Suisse AG; Credit Suisse Group

AG; Credit Suisse Securities (USA) LLC; Credit Suisse First Boston Next Fund, Inc.; and Credit

Suisse Prime Securities Services (USA) LLC have represented that Defendant Credit Suisse

Group AG does not engage in the business of securities lending;
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       WHEREAS, undersigned counsel for Defendants The Goldman Sachs Group, Inc.;

Goldman Sachs & Co. LLC; and Goldman Sachs Execution & Clearing, L.P. have represented

that Defendant The Goldman Sachs Group, Inc. does not engage in the business of securities

lending;

       WHEREAS, undersigned counsel for Defendants J.P. Morgan Chase & Co.; J.P. Morgan

Securities LLC; J.P. Morgan Prime, Inc.; J.P. Morgan Institutional Investments Inc.; J.P. Morgan

Strategic Securities Lending Corp.; and JPMorgan Chase Bank, N.A. have represented that

Defendants J.P. Morgan Chase & Co. and J.P. Morgan Institutional Investments Inc. do not

engage in the business of securities lending;

       WHEREAS, undersigned counsel for Defendants Morgan Stanley; Morgan Stanley

Capital Management, LLC; Morgan Stanley & Co. LLC; Prime Dealer Services Corp.; Strategic

Investments I, Inc.; and Morgan Stanley Distribution, Inc. have represented that Defendants

Morgan Stanley, Morgan Stanley Capital Management, LLC, and Morgan Stanley Distribution,

Inc. do not engage in the business of securities lending;

       WHEREAS, undersigned counsel for Defendants UBS Group AG; UBS AG; UBS

Americas Inc.; UBS Securities LLC; UBS Financial Services Inc.; UBS Investment Bank; UBS

Asset Management (US) Inc.; and UBS Fund Services (USA) LLC have represented that

Defendant UBS Investment Bank is not a legal entity and Defendants UBS Group AG, UBS

Asset Management (US) Inc., and UBS Fund Services (USA) LLC do not engage in the business

of securities lending;

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED:

       1.      Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff hereby voluntarily

dismisses all claims against Defendants Bank of America Corporation; Credit Suisse Group AG;




                                                 2
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The Goldman Sachs Group, Inc.; J.P. Morgan Chase & Co.; J.P. Morgan Institutional

Investments Inc.; Morgan Stanley; Morgan Stanley Capital Management, LLC; Morgan Stanley

Distribution, Inc.; UBS Investment Bank; UBS Group AG; UBS Asset Management (US) Inc.;

and UBS Fund Services (USA) LLC without prejudice to their inclusion at a later time should

evidence arise in discovery or otherwise that reveals information contrary to the above-

referenced representations of counsel, and the Parties agree that any statute of limitations, statute

of repose, or other time-related defense or claim shall be tolled as to the dismissed Defendants

only as if the claims were filed on January 30, 2018, the original filing date of the Complaint.

       2.      The undersigned counsel agree to accept service of process in the above-

captioned lawsuit on behalf of the following Defendants, expressly reserving the right to contest

whether any party in the Complaint is properly named, and without waiver of any defenses,

including those related to personal jurisdiction and venue: Merrill Lynch, Pierce, Fenner &

Smith Incorporated; Merrill Lynch L.P. Holdings, Inc.; Merrill Lynch Professional Clearing

Corp.; Credit Suisse AG; Credit Suisse Securities (USA) LLC; Credit Suisse First Boston Next

Fund, Inc.; Credit Suisse Prime Securities Services (USA) LLC; Goldman Sachs & Co. LLC;

Goldman Sachs Execution & Clearing, L.P.; J.P. Morgan Securities LLC; J.P. Morgan Prime,

Inc.; J.P. Morgan Strategic Securities Lending Corp.; JPMorgan Chase Bank, N.A.; Morgan

Stanley & Co. LLC; Prime Dealer Services Corp.; Strategic Investments I, Inc.; UBS AG; UBS

Americas Inc.; UBS Securities LLC; UBS Financial Services Inc.; EquiLend LLC; and

EquiLend Holdings LLC.

       3.      Defendants’ deadlines to answer, move or otherwise respond to the Complaint in

this action are hereby vacated.




                                                  3
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        4.         The following briefing schedule shall govern Defendants’ forthcoming motion to

dismiss for lack of standing and capacity to sue.

 Defendants’ Pre-Motion Letter (3 Pages)                 March 23, 2018
 Plaintiff’s Pre-Motion Letter Response (3 Pages)        April 4, 2018
 Defendants’ Joint Opening Brief (20 Pages)              No later than 45 days after the pre-motion
                                                         conference
 Plaintiff’s Opposition Brief (20 Pages)                 No later than 45 days after the filing of
                                                         Defendants’ opening brief
 Defendants’ Reply Brief (10 Pages)                      No later than 21 days after the filing of
                                                         Plaintiff’s opposition brief


        5.         Should the Court deny Defendants’ motion, Defendants shall answer, move

against or otherwise respond to Plaintiff’s Complaint within 45 days of such denial, with

Plaintiff’s opposition to any motion(s) to dismiss due 45 days later, and Defendants’ reply due 30

days after that.

        6.         All discovery in this action shall be stayed pending resolution of Defendants’

motion(s) to dismiss.




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